   Case: 1:20-cv-02934 Document #: 52 Filed: 08/07/20 Page 1 of 2 PageID #:2137




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

COSTA DEL MAR, INC.,
                                                    Case No. 20-cv-02934
                       Plaintiff,
                                                    Judge John Robert Blakey
       v.
                                                    Magistrate Judge Beth W. Jantz
SHOP5369069, et al.,

                       Defendants.


                             SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on August 3, 2020 [51], in favor

of Plaintiff Costa Del Mar, Inc. ( “Plaintiff”) against the Defendants Identified in Schedule A in

the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant, and Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

               Defendant Name                                         Line No.
                   Colin Xu                                              23
                  zouzhichao                                             25
                  youshilong                                             26
                  zhusonglin                                             27
                 loudyangling                                            30
                   YangGirl                                              32
                   lantianwe                                             35
                   YangFun                                               36
                   highflyke                                             37
                    taoshiye                                             38
                     djh888                                              39
                  dongyihuer                                             40
                  MuSunLove                                              61
                    mkh67r                                               80
                   ecae92gd                                              84

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   Case: 1:20-cv-02934 Document #: 52 Filed: 08/07/20 Page 2 of 2 PageID #:2138




                    LL8885                                               133


       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

Dated this 7th day of August 2020.           Respectfully submitted,

                                             /s/ Jake M. Christensen
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Jake M. Christensen
                                             Thomas J. Juettner
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                                             Chicago, Illinois 60606
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                                             Counsel for Plaintiff Costa Del Mar, Inc.




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